                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA




STEVEN E. EDWARDS,                              )
                                                )
                      Plaintiff,                )
                                                )
       v.                                       )          1:11CV633
                                                )
UNITED STATES DISTRICT                          )
COURT,                                          )
                                                )
                      Defendant(s).             )


                        ORDER AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

       Plaintiff, Steven E. Edwards, has submitted a pro se complaint under the Federal Tort

Claims Act, 28 U.S.C. § 2671, et seq. (FTCA). Plaintiff names the “United States District

Court” as the only defendant in the case. However, all of his factual allegations relate to

alleged actions or lack of action by his former attorney, Assistant Federal Public Defender

Eric Placke, during his representation of Plaintiff in a criminal case before this Court. He

claims that Placke misrepresented him in many ways and that he is entitled to in excess of

$10,000,000 in damages and immediate release from prison.

       Because Plaintiff is “a prisoner seek[ing] redress from a governmental entity or officer

or employee of a governmental entity,” this Court has an obligation to “review” this

complaint. 28 U.S.C. § 1915A(a). “On review, the court shall . . . dismiss the complaint,

or any portion of the complaint, if [it] – (1) is frivolous, malicious, or fails to state a claim
upon which relief may be granted; or (2) seeks monetary relief from a defendant who is

immune from such relief.” 28 U.S.C. § 1915A(b).

       Pertinent to this case, a plaintiff “fails to state a claim upon which relief may be

granted,” 28 U.S.C. § 1915A(b)(1), when the complaint does not “contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. ___, ___, 129 S. Ct. 1937, 1949 (2009) (emphasis added) (internal citations

omitted) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Where a

complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short

of the line between possibility and plausibility of “entitlement to relief.”’” Id. (quoting

Twombly, 550 U.S. at 557).           This standard “demands more than an unadorned,

the-defendant-unlawfully-harmed-me accusation.” Id. In other words, “the tenet that a court

must accept as true all of the allegations contained in a complaint is inapplicable to legal

conclusions. Threadbare recitals of the elements of a cause of action, supported by mere




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conclusory statements, do not suffice.” Id.1 The Court may also anticipate affirmative

defenses that clearly appear on the face of the complaint. Todd v. Baskerville, 712 F.2d 70

(4th Cir. 1983); Nasim v. Warden, Md. House of Correction, 64 F.3d 951, 954 (4th Cir.

1995)(en banc).

       For the reasons that follow, the complaint should be dismissed pursuant to 28 U.S.C.

§ 1915A(b) because it fails to state a claim on which relief may be granted.

       It is apparent from the face of the complaint that Plaintiff is attempting to undermine

his convictions in this Court for mail fraud, theft of health care funds and attempted tax

evasion [1:05CR265-1]. A plaintiff in a civil rights action is not permitted to do this without

first showing that his convictions have been reversed on direct appeal, expunged by

Executive Order, declared invalid by a state tribunal, or, finally, called into question by a

federal court through the issuance of a writ of habeas corpus. Heck v. Humphrey, 512 U.S.


       1
          Although the Supreme Court has reiterated that “[a] document filed pro se is to be
liberally construed and a pro se complaint, however inartfully pleaded, must be held to less
stringent standards than formal pleadings drafted by lawyers,” Erickson v. Pardus, 551 U.S.
89, 94 (2007) (internal citations and quotation marks omitted), the United States Court of
Appeals for the Fourth Circuit has “not read Erickson to undermine Twombly’s requirement
that a pleading contain more than labels and conclusions,” Giarratano v. Johnson, 521 F.3d
298, 304 n.5 (4th Cir. 2008) (internal quotation marks omitted) (applying Twombly standard
in dismissing pro se complaint). Accord Atherton v. District of Columbia Off. of Mayor, 567
F.3d 672, 681-82 (D.C. Cir. 2009) (“A pro se complaint . . . ‘must be held to less stringent
standards than formal pleadings drafted by lawyers.’ But even a pro se complainant must
plead ‘factual matter’ that permits the court to infer ‘more than the mere possibility of
misconduct.’” (quoting Erickson, 551 U.S. at 94, and Iqbal, 129 S. Ct. at 1950,
respectively)), cert. denied, ___ U.S. ___, 130 S. Ct. 2064 (2010), and cert. denied, ___ U.S.
___, 130 S. Ct. 3275 (2010).

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477 (1994). This applies to FTCA actions as well. Erlin v. United States, 364 F.3d 1127

(9th Cir. 2004); Parris v. United States, 45 F.3d 383 (10th Cir. 1995); Echols v. Dwyer, 914

F. Supp. 325 (E.D.Mo. 1996). Plaintiff’s convictions in this Court remain very much valid.

Dismissal is proper for this reason alone.

       Plaintiff has also not sued a proper defendant. As noted above, he has named the

Court as a defendant, but all of his allegations relate to alleged misrepresentation or

malpractice by the Federal Public Defender who represented him. Plaintiff cannot sue the

Court for the conduct of his attorney. Nor can he sue his attorney. Public defenders share

immunity for their part in the judicial process. See Sullivan v. United States, 21 F.3d 198,

203 (7th Cir. 1994)(a plaintiff may not directly sue the public defender--his sole remedy is

a Federal Tort Claims Act action against the United States). Plaintiff’s complaint against

should be also dismissed for this additional reason.2

       Plaintiff has not paid the filing fee for this action or submitted a request to proceed

in forma pauperis. However, in forma pauperis status shall be granted for the sole purpose

of entering this Order and Recommendation.




       2
         While the United States could be substituted as a party respondent for the public
defender, Plaintiff has neither shown, nor alleged, that he has exhausted his administrative
remedies. Sullivan v. United States, 21 F.3d 198, 203 (7th Cir. 1994). Consequently, even
if the United States were substituted, this complaint would be subject to dismissal for lack
of subject matter jurisdiction. It would also remain subject to dismissal because Plaintiff is
attempting to undermine his criminal convictions.

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      IT IS THEREFORE ORDERED that in forma pauperis status be granted for the

sole purpose of entering this Order and Recommendation.

      IT IS RECOMMENDED that this action be dismissed pursuant to 28 U.S.C.

§ 1915A for failing to state a claim upon which relief may be granted.




                                                       /s/ P. Trevor Sharp
                                                 United States Magistrate Judge




Date: August 26, 2011




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